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                                  UNITED STATES DISTRICT COURT
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                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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     NICOLE JEAN SCHNEIDER,                               1:10-cr-00361-LJO
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                          Movant,                         ORDER ON LETTER RE: STATUS OF
9                                                         CASE (Doc. 83)
10          v.

11
     UNITED STATES OF AMERICA,
12
                          Respondent.
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15          Nicole Jean Schneider (“Ms. Schneider”) filed a 28 U.S.C. § 2255 motion to vacate, set aside
16 or correct sentence. This Court denied the motion in part and dismissed in part. Presently before the

17 Court is a letter from Ms. Schneider regarding the status of her case.

18          On August 15, 2012, Ms. Schneider filed a § 2255 motion in which she raised ten claims for
19 relief. This Court denied the motion except for her claim that she received ineffective assistance of

20 counsel when counsel ignored her request to file an appeal. In an order dated November 28, 2012, the
21 Court ordered Ms. Schneider’s former counsel to file a declaration in response to Ms. Schneider’s

22 allegations and ordered Ms. Schneider to respond to counsel’s declaration. Counsel filed a declaration

23 which stated that Ms. Schneider advised him that she did not wish to file an appeal, that his last contact

24 with her was at the sentencing hearing, and that she never contacted him regarding her interest in filing

25 an appeal. When Ms. Schneider failed to respond to counsel’s declaration, this Court issued an order

26 to show cause as to why this Court should not dismiss Ms. Schneider’s case for her failure to comply
27 with a Court order. In the order to show cause, Ms. Schneider was admonished that if she did not

28 respond to the order in a timely fashion that her case would be dismissed. Ms. Schneider did not
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1    respond to the order to show cause. Accordingly, on March 15, 2013, this Court dismissed Ms.
2    Schneider’s case.
3           On January 15, 2014, Ms. Schneider filed a letter regarding the status of her case which is
4    presently before the Court. She asserts that the last document she received was the November 28,
5    2012, order in which this Court ordered her former counsel to file a declaration. She contends that she
6    never received counsel’s declaration or any other documents from this Court.
7           According to the docket, the U.S. Attorney’s Office served Ms. Schneider with a copy of her
8    counsel’s declaration on January 4, 2013. The document was mailed to FCI Waseca’s P.O. Box but
9    did not include Ms. Schneider’s inmate number. Even if the absence of Ms. Schneider’s inmate
10 number prevented her from receiving counsel’s declaration, this Court served Ms. Schneider with the

11 declaration when it served her with the order to show cause on February 7, 2013. Both documents

12 were mailed to Ms. Schneider at FCI Waseca and included her inmate number on the address label. In

13 addition, this Court served Ms. Schneider with the March 15, 2013, order dismissing her case. Ms.

14 Schneider was served with all documents from this Court. Therefore, this Court’s disposition of her

15 motion was proper.

16          Ms. Schneider’s request for an attorney and evidentiary hearing is DENIED.

17 IT IS SO ORDERED.

18      Dated:     January 24, 2014                         /s/ Lawrence J. O’Neill
19                                                       UNITED STATES DISTRICT JUDGE

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